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General questions

   1. Name: ____________________________________________________________

   2. Age: ________

   3. Gender: ________________

   4. County of residence: _____________________

   5. The trial of this case is expected to last approximately three weeks. The jury will
      generally sit [Days] from [Hours]. The trial will begin on November 4, 2019 and is
      expected to end by November 22, 2019, the week prior to Thanksgiving. All jury
      service involves some degree of hardship. Would service as a juror in this case be a
      serious hardship for you?

        Yes            No

      If yes, please explain: ____________________________________________________

      ______________________________________________________________________

      ______________________________________________________________________

      ______________________________________________________________________

   6. Do you have any difficulty with your eyesight or hearing or any medical condition that
      would make it difficult for you to serve on a jury?

        Yes            No

      If yes, please explain: ____________________________________________________

      ______________________________________________________________________

      ______________________________________________________________________

      ______________________________________________________________________

      ______________________________________________________________________

   7. Do you have any difficulty with reading or understanding the English language?

                Yes            No




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8. Highest level of education completed and if applicable, degree(s) obtained and field of
   study:

      Did not complete high school
      High school or equivalent
      Associate degree
      Bachelor degree
      Graduate degree (Masters, PhD, etc.)

   Field(s) of study: _________________________________________________________

9. Have you ever had any training or work experience in any of the following?

                                          No experience   Training   Work experience
   Sales

   Accounting / Bookkeeping /
   Auditing

   Banking

   Finance (investment banking,
   securities trading / analysis, etc.)

   Anti-money laundering


   Legal profession


10. If you or anyone living with you is employed, please identify place of employment and
    description of job. If you are retired or unemployed, please identify the most recent job
    you held.

   Place of employment: ____________________________________________________

   Job title: _______________________________________________________________

11. Please list any newspapers, magazines, TV or radio shows, or Internet or social media
    websites that you read, watch, or listen to on a regular basis:

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

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12. Please list any groups, clubs, and/or organizations to which you belong, including
    professional, religious, political, or hobby-related organizations:

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

13. Do you have any experience with private equity investments?

     Yes            No

   If yes, please describe: ___________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

14. Are you familiar with the term “cryptocurrency?”

     Yes            No

   If yes, please explain what you know about cryptocurrency in a few lines: __________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

15. Do you have any views, positive or negative, about cryptocurrency?

     Yes            No

   If yes, please explain your views: ___________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

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16. Have you ever invested in a cryptocurrency?

     Yes            No

   If yes, how did the investment turn out?: _____________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

17. Are you familiar with a cryptocurrency called OneCoin?

     Yes            No

   If yes, please explain what you know about OneCoin: ___________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

18. Are you familiar with the Panama Papers?

     Yes            No

   If yes, please explain what you know about the Panama Papers: ___________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

19. Have you ever worked as a salesperson where you received commissions?

     Yes            No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________


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20. Are you familiar with multilevel marketing?

     Yes            No

   If yes, please explain what you know about multilevel marketing: _________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

21. Do you have any feelings, positive or negative, towards multilevel marketing?

     Yes            No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

22. Have you ever purchased or sold anything through multi-level marketing channels?

     Yes            No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

23. Have you or someone close to you ever had any negative experiences with an investment
    counselor or advisor?

     Yes            No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________



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24. Have you or someone close to you ever lost money on an investment where you thought
    the loss was caused by someone else's wrongdoing, fraud or dishonesty?

     Yes             No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

25. Have you or has anyone close to you ever lost what you considered to be a significant
    amount of money on a business or other investment that did not involve fraud?

     Yes             No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

26. Have you ever been cheated or treated unfairly by a bank or other financial institution?

     Yes             No

   If yes, please explain: ____________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________

   ______________________________________________________________________


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   27. Have you ever been tricked or deceived by a lawyer?

         Yes             No

       If yes, please explain: ____________________________________________________

       ______________________________________________________________________

       ______________________________________________________________________

       ______________________________________________________________________

       ______________________________________________________________________


I affirm, under penalty of perjury, that I have given complete and honest answers to all of the
questions above.


           ___________________________________                    ________________________
                         Signature                                       Date




                                                 7
